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 9
                                UNITED STATES DISTRICT COURT
10

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                   SAN FRANCISCO DIVISION

13
     IN RE: UBER TECHNOLOGIES, INC.,                         MDL No. 3084 CRB
14   PASSENGER SEXUAL ASSAULT                                Honorable Charles R. Breyer
15   LITIGATION

16
     This Document Relates to:
17
     Jane Doe LS 212 v. Uber Technologies, Inc., et
18   al., Case No. 3:24-cv-05999
19

20                        PLAINTIFF’S NOTICE OF NEW ACTION FILED

21 Notice is hereby given pursuant to Pretrial Order No. 6 (Direct Filing) that the Complaint with

22 Jury Demand in the above-referenced action was filed on August 26, 2024.

23 Dated: August 26, 2024                                 Respectfully Submitted,
24
                                                          LEVIN SIMES LLP
25
                                                      By: /s/ William A. Levin
26                                                        William A. Levin
                                                          Laurel L. Simes
27                                                        David M. Grimes
28                                                        Samira J. Bokaie
                                                          Attorneys for Plaintiff
                                                      1
                              PLAINTIFF’S NOTICE OF NEW ACTION FILED
      Case 3:23-md-03084-CRB Document 1410 Filed 08/26/24 Page 2 of 2




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on August 26, 2024, I electronically filed the foregoing document with
 3 the Clerk of the Court using the CM/ECF system, which will automatically send notification of the

 4 filing to all counsel of record.

 5                                                       /s/ William A. Levin
                                                         William A. Levin
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                              PLAINTIFF’S NOTICE OF NEW ACTION FILED
